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 1   BRUCE LOCKE (#177787)
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     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     Enrique Morales
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-07-314 FCD
                                         )
 9                     Plaintiff,        )                 STIPULATION AND ORDER
                                         )                 VACATING THE TRIAL DATE
10                                       )                 AND THE TRIAL CONFIRMATION
           v.                            )                 DATE AND SETTING NEW DATES
11                                       )
     ENRIQUE MORALES, et. al.,           )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          The defendants, by and through their attorneys, and the United States by and through its
15   attorney, Matthew Stegman, hereby stipulate that the Trial Confirmation date currently scheduled
16   for April 11, 2011 at 10:00 a.m., should be vacated and a new date set for August 8, 2011 at 10:00
17   a.m., and the Trial date currently scheduled for May 3, 2011 should be vacated and a new date set
18   for September 7, 2011 at 9:00 a.m. The additional time is required by the Court’s schedule and the
19   defense attorneys’ need to prepare for trial. Accordingly, the time between May 3, 2011, 2010 and
20   September 7, 2011 should be excluded from the Speedy Trial calculation pursuant to Title 18 United
21   States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties
22   stipulate that the ends of justice served by granting this continuance outweigh the best interests of
23   the public and the defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Stegman and the
24   other defense attorneys have authorized Mr. Locke to sign this document for them.
25
26   DATED: March 24, 2011                                     /S/ Bruce Locke
                                                           BRUCE LOCKE
27                                                         Attorney for Enrique Morales
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29                                                    1
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 2
 3
     DATED: March 24, 2011                        /S/ Bruce Locke
 4                                            MIGUEL ANGEL HERNANDEZ
                                              Attorney for Jose Luis Morales
 5
 6   DATED: March 24, 2011                        /S/ Bruce Locke
                                              CLARENCE EMMETT MAHLE
 7                                            Attorney for Juan Morales
 8
     DATED: March 24, 2011                        /S/ Bruce Locke
 9                                            TIMOTHY F. WARRINER
                                              Attorney for Teresa Maria Morales
10
11   DATED: March 24, 2011                        /S/ Bruce Locke
                                              DONALD P. DORFMAN
12                                            Attorney for Petra Preciado Morales
13
     DATED: March 24, 2011                       /S/ Bruce Locke
14                                            For MATTHEW STEGMAN
                                              Assistant United States Attorney
15
16
                                       ORDER
17
           IT IS SO ORDERED.
18
19   DATED: March 25, 2011
20                                    _______________________________________
                                      FRANK C. DAMRELL, JR.
21                                    UNITED STATES DISTRICT JUDGE
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